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                          EXHIBIT A

                            Budget
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Platinum Heights LP
First Interim Cash Collateral and DIP Budget

                                                           Forecast             Forecast            Forecast           Forecast
Period:                                                        1                   2                   3
Week Ending:                                               3/7/2025            3/14/2025           3/21/2025           TOTAL

Beginning Cash Balance                                 $        30,512     $         50,588    $         50,588    $       30,512

RECEIPTS
     Base Rent                                                  47,645                     -                   -           47,645
     Rent Reimbursement                                              -                     -                   -                -
     DIP Advances                                              190,000                     -                   -          190,000
Total Cash Receipts                                            237,645                     -                   -          237,645

DISBURSEMENTS

     Property Insurance                                         (94,320)                   -                   -           (94,320)
     HVAC Rental                                                (25,000)                   -                   -           (25,000)
     Electricity                                                      -                    -                   -                 -
     Gas                                                              -                    -                   -                 -
     Water                                                            -                    -                   -                 -
     Trash                                                            -                    -                   -                 -
     Security                                                         -                    -                   -                 -
     Elevator Maintenance Contract                              (50,000)                   -                   -           (50,000)
     Fire System.Life Safety                                          -                    -                   -                 -
     Landscaping                                                      -                    -                   -                 -
     Medgas                                                           -                    -                   -                 -
     Property Maint/Janitorial                                        -                    -                   -                 -
     Water Management                                           (10,250)                   -                   -           (10,250)
Total Operating Expenses                                       (179,570)                   -                   -         (179,570)

Bankruptcy Costs
    Adequate Protection - Prepetition Secured Lender                  -                    -                   -                 -
    United States Trustee Fee                                         -                    -                   -                 -
    Utility Adequate Assurance Reserve                          (38,000)                   -                   -           (38,000)
    Debtor Counsel: Reed Smith                                        -                    -                   -                 -
    Debtor FA: Harney Partners                                        -                    -                   -                 -
    Unsecured Creditors Committee Professionals                       -                    -                   -                 -
Total Bankrutpcy Costs                                          (38,000)                   -                   -           (38,000)

Net Cash Flow                                                   20,076                     -                   -           20,076

Ending Cash Balance                                    $        50,588     $         50,588    $         50,588    $       50,588



Total DIP Advances
     Beginning Balance                                               -              220,000             220,000                 -
     Advances                                                  220,000                    -                   -           220,000
     Paydowns                                                        -                    -                   -                 -
     Ending Balance                                            220,000              220,000             220,000           220,000
